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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

                                             :
Frederic Windisch,                           :
                                             : Civil Action No.: ______
                     Plaintiff,              :
      v.                                     :
                                             :
Ally Financial, Inc.,                        : DEMAND FOR JURY TRIAL
                                             :
                     Defendant.              :
                                             :
                                             :

                         COMPLAINT & JURY DEMAND

      For this Complaint, the Plaintiff, Frederic Windisch, by undersigned

counsel, states as follows:

                                   JURISDICTION
      1.     This action arises out of Defendant’s repeated violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).

      2.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that the Defendant transacts business in this District and a substantial portion of the

acts giving rise to this action occurred in this District.

                                       PARTIES
      3.     The Plaintiff, Frederic Windisch (“Plaintiff”), is an adult individual

residing in St Joseph, Missouri, and is a “person” as the term is defined by 47

U.S.C. § 153(39).
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      4.     Defendant Ally Financial, Inc. (“Ally”), is a Michigan business entity

with an address of 40600 Ann Arbor Road E, Suite 201, Plymouth, Michigan

48170, and is a “person” as the term is defined by 47 U.S.C. § 153(39).

              ALLEGATIONS APPLICABLE TO ALL COUNTS
      5.     Within the last year, Ally began calling Plaintiff’s cellular telephone,

number 562-xxx- 6754.

      6.     The calls were placed from telephone number 888-611-6904.

      7.     When Plaintiff answered the phone, he was met with a period of

silence followed by an automated click at which point the call was transferred to an

Ally operator.

      8.     The foregoing is indicative of a predictive dialer, an automated

telephone dialing system (ATDS) under the TCPA.

      9.     Plaintiff does not know how Ally acquired his cellular phone number.

Plaintiff did not provide it to Ally.

      10.    Plaintiff did not provide prior express consent to Ally to place calls to

his cellular phone number.

      11.    When the calls began, Plaintiff spoke with a live representative in an

effort to get them to stop. Ally informed Plaintiff that the calls were intended for

“Michael Verdugo.” Plaintiff advised Ally that Mr. Verdugo was unknown to him
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and unreachable at his number and as such, demanded that the automated calls

cease.

         12.    Nevertheless, the calls continued.


                                       COUNT I

               VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, ET SEQ.

         13.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

         14.    At all times mentioned herein and within the last four years,

Defendant called Plaintiff on his cellular telephone using an automatic telephone

dialing system (“ATDS” or “Predictive Dialer”).

         15.    In expanding on the prohibitions of the TCPA, the Federal

Communications Commission (FCC) defines a Predictive Dialer as “a dialing

system that automatically dials consumers’ telephone numbers in a manner that

“predicts” the time when a consumer will answer the phone and a [representative]

will be available to take the call…”2003 TCPA Order, 18 FCC 36 Rcd 14022. The

FCC explains that if a representative in not “free to take a call that has been placed

by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or a

dial tone, causing frustration.” Id. In addition, the TCPA places prohibitions on

companies that “abandon” calls by setting “the predictive dialers to ring for a very
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short period of time before disconnecting the call; in such cases, the predictive

dialer does not record the call as having been abandoned.” Id.

      16.    Defendant’s telephone systems have all the earmarks of a Predictive

Dialer.

      17.    When Plaintiff answered the phone, he was met with a period of

silence before Defendant’s telephone system would connect him to the next

available representative.

      18.    Defendant’s Predictive Dialers have the capacity to store or produce

telephone numbers to be called, using a random or sequential number generator.

      19.    Plaintiff never provided his cellular telephone to Defendant and never

provided his consent to be contacted on his cellular telephone, and in fact

instructed Defendant to stop all calls to him.

      20.    The calls from Defendant to Plaintiff were not placed for “emergency

purposes” as defined by 47 U.S.C. § 227(b)(1)(A)(i).

      21.    Each of the aforementioned calls made by Defendant constitutes a

violation of the TCPA.

      22.    As a result of each of Defendant’s negligent violations of the TCPA,

Plaintiff is entitled to an award of $500.00 in statutory damages for each call

placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).
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      23.   As a result of each of Defendant’s knowing and/or willful violations

of the TCPA, Plaintiff is entitled to an award of treble damages in an amount up to

$1,500.00 for each and every violation of the TCPA pursuant to 47 U.S.C. §

227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


                            PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against Defendant:

            A. Statutory damages of $500.00 for each violation determined to be

                negligent pursuant to 47 U.S.C. § 227(b)(3)(B);

            B. Treble damages for each violation determined to be willful and/or

                knowing pursuant to 47 U.S.C. § 227(b)(3)(C);

            C. Such other and further relief as may be just and proper.

             TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: October 29, 2018


                                      Respectfully submitted,

                                      By: /s/ Sergei Lemberg, Esq.
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